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                    7        Attorneys for Defendants
                             SAP LABS, LLC., SAP AMERICA, INC.,
                    8        JEWELL PARKINSON AND JENNY LE
                    9                                      UNITED STATES DISTRICT COURT

                  10                                    NORTHERN DISTRICT OF CALIFORNIA

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                  12         MUHAMMAD KHAN,                                    Case No. 5:18-cv-07490-BLF

                  13                                Plaintiff,                 DEFENDANTS’ NOTICE OF
                                                                               COMPLIANCE WITH THE COURT’S
                  14                        v.                                 ORDER DIRECTING DEFENDANTS TO
                                                                               RE-SERVE PLAINTIFF WITH NOTICE
                  15         SAP LABS, LLC., SAP AMERICA, INC.                 OF REMOVAL AND MOTION TO
                             (erroneously sued as SAP Americas, LLC),          DISMISS
                  16         JEWELL PARKINSON, AND JENNY
                             LE,
                  17
                                                    Defendants.
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                  19
                                    Defendants SAP Labs, LLC, SAP America, Inc., Jewell Parkinson and Jenny Le
                  20
                             (“Defendants”) hereby advise the Court that they have complied with its January 16, 2019 Order
                  21
                             Directing Defendants To Re-Serve Plaintiff With Notice Of Removal And Motion To Dismiss
                  22
                             [ECF18] by re-serving the referenced papers on Mr. Khan on January 17, 2019, at the address
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                             referenced in the Court’s Order, as reflected in the proof of service attached as Exhibit A.
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                                    Defendants also respectfully inform the Court that, in December 2018, their counsel’s
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                             office contacted a Litigation Coordinator at the Correctional Training Facility where Plaintiff is
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                             incarcerated to inquire as to the best method to serve Mr. Khan so that he would receive papers in
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                             a timely manner. In response, the Litigation Coordinator advised that legal documents should be
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C U RL E Y , H U RT GE N &
                                                                                        DEFENDANTS’ NOTICE OF COMPLIANCE WITH THE
    J OHNSRU D L L P
                                                                                   COURT’S ORDER DIRECTING DEFENDANTS TO RE-SERVE
  COUNSE LO RS AT LA W                                                     1       PLAINTIFF WITH NOTICE OF REMOVAL AND MOTION TO
      MENLO PAR K
                                                                                                    DISMISS (Case No. 5:18-CV-07490-BLF)
                                Case 5:18-cv-07490-BLF Document 20 Filed 01/17/19 Page 2 of 2



                     1       addressed to the P.O. Box that Defendants used for service as documents addressed to this P.O.
                     2       Box might be distributed more promptly than documents addressed to Mr. Khan’s regular mailing
                     3       address. Defendants’ counsel was also advised that if they sent legal documents to the address
                     4       that Defendants used for service, someone at the Correctional Training Facility would sign and
                     5       return a proof of service, showing that the document was personally served on Mr. Khan at the
                     6       Correctional Training Facility. Attached to this Notice are proofs of service filled out by the
                     7       Correctional Training Facility and returned to Defendants’ counsel indicating that Defendants’
                     8       Notice of Removal (Ex. B) and Motion to Dismiss (Ex. C) were personally served on Mr. Khan
                     9       on January 2, 2019.
                  10                Going forward, Defendants will serve Plaintiff at both P.O. Box numbers to help ensure
                  11         prompt receipt of documents.
                  12                                                              Respectfully Submitted,
                  13
                             Dated: January 17, 2019                            CURLEY, HURTGEN & JOHNSRUD LLP
                  14

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                                                                                By      /s/ Brian Johnsrud
                  16                                                                 BRIAN L. JOHNSRUD
                                                                                     Attorneys for Defendants
                  17                                                                 SAP LABS, LLC, SAP AMERICA, INC.,
                                                                                     JEWELL PARKINSON and JENNY LE
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C U RL E Y , H U RT GE N &
                                                                                       DEFENDANTS’ NOTICE OF COMPLIANCE WITH THE
    J OHNSRU D L L P                                                              COURT’S ORDER DIRECTING DEFENDANTS TO RE-SERVE
  COUNSE LO RS AT LA W
                                                                           2      PLAINTIFF WITH NOTICE OF REMOVAL AND MOTION TO
      MENLO PAR K                                                                                  DISMISS (Case No. 5:18-CV-07490-BLF)
